












Dismissed and Memorandum Opinion filed April 15, 2010.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-10-00175-CR

____________

&nbsp;

ABDUL-GAFFER VADGAMA, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the 232nd District Court

Harris County, Texas

Trial Court Cause No. 1194251

&nbsp;



&nbsp;

M E M O R
A N D U M&nbsp;&nbsp; O P I N I O N

A written request to withdraw the notice of appeal,
personally signed by appellant, has been filed with this Court. &nbsp;See Tex.
R. App. P. 42.2. &nbsp;Because this
court has not issued an opinion, we grant appellant=s request.

Accordingly, we order the appeal dismissed. &nbsp;We direct the
Clerk of the court to issue the mandate of the court immediately.

PER CURIAM

Panel
consists of Chief Justice Hedges and Justices Yates and Boyce.

Do not
publish C Tex. R. App. P. 47.2(b).





